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IN THE UNITED _STATES DISTRICT COURT
FOR 'I`HE NORTHERN I)ISTRICT OF ()KLAHOMA

1. ROCHELLE HART,
Plaintiff,
VS.
l. NATIONWIDE PROPERTY &

CASUALTY INS. CO.,

a domestic corporation, Case No: 13-cv-551-CVE-FHM

Defenda.nt.

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STIPULATION OF DISMISSAL WITH PREJUDICE
COMES NOW the Parties, Plaintiff, Rochelle Hart, end Defendant, Nationwide Property
& Casualty Ins. Co., by and through their respective attorneys of record and hereby Stipulate this

matter Should be DISMISSED WITH PREJUDICE.

Respectfully Submitted,

/S/ Richard E. Warzynski

 

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/s/ Jason A. Robertson

 

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